Case 1:20-cv-02405-EGS Document 90-8 Filed 11/05/20 Page 1 of 2

 

PROCESSING OPERATIONS
HEADQUARTERS .
UNITED STATES POSTAL SERVICE

Processing Operations Management Order

 

 

 

   

     

 

 

UNITED STATES
POSTAL SERVICE @
Political and Election Mail Audit Checklist
. a 10/28/2020
eiend,
ot a . Facility NAME/Auditor's NAME: DRANX TOUR 2
NICHOLSON

 

 

Enter responses in spaces provided. Any Y/N question answered as "No" requires an entry in section 41 below.

General Information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| X | No NIA
2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes x No NIA
3 OPS - Is there a designated Political and Election Mail Staging area? Yes| X | No NIA
4 OPS -|s the staging space clearly identified with proper lines and signs? Yes| X| No NIA
§ OPS - Does the plant have Political and Election mail properly staged in the designated staging area as applicable? | Yes| X | No NIA
6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes! X | No N/A
7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes] x | No NIA
8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes} y | No NIA
9 OPS - Are all P/E mail alerts being shared and documented in the fog upon arrival? Yes! x | No NIA
10 OPS - Are all containers with P/E mall properly identified indicating that there is P/E mail in that container? Yes x No NIA
11 OPS - Have the POMOs and Service talks been posted on the workroom floor? Yes x No NIA
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes x No NIA
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes! Xj No NIA
14 OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELVER THE MAIL/DO NOT RTS? Yes! X| No N/A
15 OPS - Do the employees know what to do with a container with a Tag 57 or 191? Yes| X| No NIA
16 OPS - Does the site know how to handle the Military‘Overseas/Absentee ballots? Yes| X | No NIA
17 OPS - Have manual operations including Shortpaid, Damaged mail and PARS been swept for all PAE: mail? Yes y¥ No NIA
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes} X | No NIA
19 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes; X | No N/A
20 BMEU-'s the BMEU Political and Election mail logs up to date and current? Yes y No NIA
21 IPS - Is reviewed daily to assess Political and Election Mail Performance? Yes x No NIA
22 IPS - Did IPS audit the MCV counts and vatidate the counts and oldest dates on the floor? Yes x No N/A
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the dally tour turnover meetings7| Yes x No NIA
24 IPS -|s IPS reviewing Election Mail ballot envelopes that reject from AFCSs and communicating findings to the distric Yes) X | No NIA

 

NOTE: STRAPS NEED TO BE MORE SECURE ON MAIL, CAUSE BUNDLES

TO COME APART.

22

 

 

 

 
Case 1:20-cv-02405-EGS Document 90-8 Filed 11/05/20 Page 2 of 2

 

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POSTAL SERVICE @

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail 10/28/2020

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

Political and/or Election Mail. District: MID-ATE ANTIC Name:
SANDRA NICHOLSON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Title: SDO Phone #:___ 910 223-3646
. . Comments:
Checkbox Section/Operation:
when checked Defines the work area to be searched. Specifics: include copies of PMOD label ond /or
container placard. Names of individuals contacted

iJ EEE ALL AREAS ARE CKECKED
Lx BMEU & BMEU Plant Staging
Opening units
Ix] | AQ/Station dispatch area POLITICAL MAIL FOR DISPATCH
[x Outbound dock
Outgoing Dispatch Area
[x Trailers in yard {Yard Check} NO MAIL IN TRAILER
KI MITE Plant Staging Area APC'S IN TRAILER ON SHORT DOCK
[x MTE trailers
x] Site MTESC
PARS Staging and Operations MAIL IN AREA
Rewrap Operations AREA CLEAR
x] CFS (if applicable)
[x BRM/Postage Due

 

 

 

 

 

23

 
